Case 2:02-cr-20063-SH|\/| Document 89 Filed 07/28/05 Page 1 of 6 Page|D 103

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UN|TED STATES OF AMER|CA

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. ' l,S.C-'i$l'.?£l COURT
-v- 2.02cn20063-01-Ma CLF§§JL U.SMS
SHAUN TIN|OTHY JONES

Dorls Randle-Ho|t FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

 

*A*M*E*N*D*E*D* JUDGMENT |N A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 through 6 of the Indictment on September 27, 2002, and
agrees to the forfeiture as contained in Count 7 of the lndictment. According|y, the court has
adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Sect|on Nature of Offense Offense Number{s)
Conc|uded
18 U.S.C. § Possession of Child Pornography 01/16/2002 1
2252(a)(4)(B)
18 U.S.C. § 2252(a)(2) Receipt of Chi|d Pornography 01!12/2002 2 - 6
18 U.S.C. § 2253 Forfeiture Count 01/12/2002 7

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act cf 1984 and the Nlandatory Victims Fiestituticn Act
of 1996

lT lS FURTHEF| ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restituticn, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/21/1977 January 13, 2003
Deft’s U.S. Marshal No.: 18208-076 ** Re-Sentencing Date **:

Ju|y 26, 2005

Defendant’s Residence Address:
740 Church Fload
Halis, TN 38040 y MML__
SAMUEL H. MAVS, JF~l.
UN|TED STATES D|STR|CT JUDGE

a_Q
Tiiis document entered on the doc et site%' compliance
with sure ss and/orre(a) FscP on '

 

Ju|y , 2005

Case 2:02-cr-20063-SH|\/| Document 89 Filed 07/28/05 Page 2 of 6 Page|D 104

Case No: 02-20063-01-Ma
Defendant Name: Shaun Timothy Jones Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of fifty-one (51) months, which shall run concurrent
with defendants state sentence.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at Federal
Correctiona| lnstitution, Butner, North Carolina, to allow defendant to participate in the sex
offender treatment program.

The defendant is remanded to the custody cf the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:02-cr-20063-SHl\/l Document 89 Filed 07/28/05 Page 3 of 6 PageiD 105

Case No: 02-20063-01-Nia
Defendant Name: Shaun Timothy Jones Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shatl permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:02-cr-20063-SHl\/l Document 89 Filed 07/28/05 Page 4 of 6 PageiD 106

Case No: 02-20063-01-Ma
Defendant Name: Shaun Timothy Jones Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the oourt;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine cr restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment.

ADD|T|ONAL CONDlT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

14. Any employment and/or change of address of defendant shall be subject to the prior approval of the
Probation Officer.

15. Defendant must participate in a specialized sex offender treatment program that may include use
of a piethysmcgraph and polygraph.

16. Defendant shall refrain from purchasing, possessing, or using any sexually stimulating or sexually
oriented books, magazines, films, videos. computer programs, or any other media for portrayal of
same.

17. Deft may not loiter near school yards, playgrounds, swimming pools, aroades, or other places

frequented by children.

18. Deft may not use sexually oriented telephone numbers or services.

19. Deft must abide by an evening curfew as set by the Probation Officer.

20. Defendant shall not possess or use a computer with access to any on-iine computer service at any
location without prior approval of the Probation Officer. This includes any internat Service Provider,

bulletin board system or any other public or private network or e-maii system.

21. Defendant shall cooperate with the collection of DNA as directed by the Probation Officer.

Case 2:02-cr-20063-SHl\/l Document 89 Filed 07/28/05 Page 5 of 6 PageiD 107

Case No: 02-20063-01-Ma
Defendant Name: Shaun Timothy Jones Page 5 of 5

CR|M|NAL NlONETAFlY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Totai Fine Tota| Ftestitution
$600.00

The Special Assessment shall be due immediately.

FiNE
No fine imposed.

REST|TUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
ease 2:02-CR-20063 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

